USCA Case #15-1219        Document #1568299           Filed: 08/17/2015    Page 1 of 4



                   ORAL ARGUMENT NOT YET SCHEDULED
              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

AES PUERTO RICO, LP

                          Petitioner,

      v.                                              Case No. 15-1229
                                                      (Consolidated with Case Nos.
                                                      15-1219, 15-1221, 15-1222,
                                                      15-1223, 15-1227, and 15-
                                                      1228)
U.S. ENVIRONMENTAL PROTECTION
AGENCY and GINA McCARTHY,
Administrator, U.S. Environmental Protection
Agency

                          Respondents.

                NON-BINDING STATEMENT OF ISSUES FOR
                  PETITIONER AES PUERTO RICO, LP
      In accordance with this Court’s July 17, 2015 Order, petitioner AES Puerto

Rico, LP (“AESPR”) submits this nonbinding Statement of Issues to be raised in

this proceeding.

      1.     Whether EPA violated the notice and comment requirements of the

Administrative Procedure Act (APA) or other procedures required by law by

regulating piles of coal combustion residuals (“CCRs”), even when the CCRs are

intended for beneficial use and not for disposal.

      2.     Whether EPA acted arbitrarily and capriciously, otherwise not in

accordance with law, and in excess of its statutory jurisdiction, authority, or
USCA Case #15-1219         Document #1568299            Filed: 08/17/2015   Page 2 of 4



limitations, or abused its discretion, by imposing regulatory requirements over

CCRs that are intended for beneficial use and not for disposal.

       3.      Whether EPA acted arbitrarily and capriciously, otherwise not in

accordance with law, and in excess of its statutory jurisdiction, authority, or

limitations, or abused its discretion, by imposing the regulatory requirements for

CCR landfills on a product manufactured from CCRs that is stored in an on-site

inventory at the facility where the product was produced prior to off-site beneficial

use.

       4.      Whether EPA’s inclusion of “CCR pile” within the definition of

“CCR landfill” is arbitrary and capricious, an abuse of discretion, otherwise not in

accordance with the law, or in excess of its statutory jurisdiction, authority, or

limitations.

       5.      Whether EPA’s definition of “CCR beneficial use” is arbitrary and

capricious, an abuse of discretion, otherwise not in accordance with law, or in

excess of its statutory jurisdiction, authority, or limitations.
USCA Case #15-1219        Document #1568299          Filed: 08/17/2015   Page 3 of 4



      AESPR retains the right to raise any additional issue at the time briefs are

filed in these consolidated cases.

                                           Respectfully submitted,


                                           /s/ Samuel B. Boxerman
                                           Samuel B. Boxerman
                                           Paul J. Zidlicky
                                           Paul J. Sampson
                                           Sidley Austin LLP
                                           1501 K Street, N.W.
                                           Washington, D.C. 20005
                                           (202) 736-8000
                                           (202) 736-8711 (Fax)

                                           Counsel to Petitioner
                                           AES Puerto Rico, LP

Dated: August 17, 2015
USCA Case #15-1219      Document #1568299           Filed: 08/17/2015   Page 4 of 4



                         CERTIFICATE OF SERVICE

      I hereby certify that on this 17th day of August 2015, I caused the foregoing

document to be electronically filed with the Clerk of the Court using the CM/ECF

System, which will send notice of such filing to all registered CM/ECF users.


                                      /s/ Samuel B. Boxerman
                                      Samuel B. Boxerman
